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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division



  In re:
  ZETIA (EZETIMIBE) ANTITRUST
  LITIGATION




                                                                      MDL NO. 2:18md2836



  THIS DOCUMENT RELATES TO:
  ALL CASES




                                          OPINION


         These      matters     come     before       the    court     on    the      Glenmark


  Defendants'^        Motion     to    Dismiss     Direct       Purchaser       Plaintiffs'


  Consolidated Class Action Complaint, ECF No. 157;2 the Defendants'

  Joint Motion to Dismiss the Retailer Plaintiffs' Complaints, ECF

  No. 160; and the Defendants' Joint Motion to Dismiss All Claims

  Asserted by End Payer Plaintiffs, ECF No. 162.

         On November 27, 2018, these matters were referred to United

  States     Magistrate        Judge    Douglas       E.     Miller    pursuant       to    the




         ^ The Glenmark Defendants consist of Glenmark Pharmaceuticals,
  Ltd.     and   Glenmark  Pharmaceuticals   Inc.,   USA,   the  latter
  incorrectly identified as Glenmark Generics Inc., USA.

         2   The    Merck   Defendants     filed      a     Notice    of    Joinder    in   the
  Glenmark         Defendants'        Motion     to       Dismiss     Direct       Purchaser
  Plaintiffs' Consolidated Class Action                     Complaint on October 11,
  2018. ECF No. 164. The Merck Defendants consist of Merck & Co.,
  Inc.; Merck Sharp & Dohme Corp.; Schering-Plough Corp.; Sobering
  Corp.; and MSP Singapore Co. LLC.
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  provisions of 28 U.S.C. § 636(b)(1)(B) and Federal Rule of Civil

  Procedure    72(b), to        conduct        necessary     hearings, including the

  hearing that was held on January 14, 2019, and to submit to the

  undersigned      district          judge     proposed      findings          of     fact,   if

  applicable,      and    recommendations            for    the     disposition         of    the

  Motions. Referral Order, EOF No. 208.

        By copy of the Magistrate Judge's Report and Recommendation

  (""R&R"), filed on February 6, 2019, the parties were advised of

  their   right    to    file        written    objections         to    the    findings      and

  recommendations made by the Magistrate Judge within fourteen (14)

  days from the date of service of the R&R on the objecting party.

  R&R at 105, EOF No. 234. Three sets of objections were filed on

  February 20, 2019: Retailer Plaintiffs' Objections to Report and

  Recommendation Regarding Motions to Dismiss (''Retailer Plaintiffs'

  Objections"), EOF No. 235; Glenmark Defendants' Objections to the

  February    6,   2019 Report and             Recommendation           Denying     Motions to

  Dismiss     Claims      by     Direct        Purchaser          Plaintiffs,         End-Payor

  Plaintiffs,      and        Retailer       Plaintiffs       ("Glenmark            Defendants'

  Objections"),      EOF       No.     236;     and       Merck     Defendants'         Written

  Objections to the Magistrate                 Judge's Report and Recommendation

  Dated   February       6,    2019    ("Merck       Defendants'         Objections"),        EOF

  No. 237.3 Responses           to    each     set   of    objections          were   filed   on



       3 The Merck Defendants join in the Glenmark Defendants'
  Objections, Merck Defs.' Objs. at 2, and the Glenmark Defendants
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  March 6, 2019: Defendants' Joint Response to Retailer Plaintiffs'

  Objections      (^^Defendants'       Response"), EOF No.         240;     Plaintiffs'

  Response       to   Glenmark         Defendants'       Objections    (^^Plaintiffs'

  Response"), EOF No. 239; and End-Payor Plaintiffs' Opposition to

  the    Merck    Defendants'          Objections    ("EPPs'     Opposition"),       EOF

  No. 238. On March 6, 2019, the Glenmark Defendants filed a request

  for hearing on their Objections. EOF No. 241. The court finds a

  hearing      unnecessary        to     resolve     the    Glenmark        Defendants'

  Objections.

         Pursuant     to   Rule    72(b)     of    the   Federal    Rules     of    Civil

  Procedure, the court, having reviewed the record in its entirety,

  hereby makes a ^ novo determination of those portions of the R&R

  to which the Defendants have specifically objected. See Fed. R.

  Civ. P. 72(b). The court may accept, reject, or modify, in whole

  or in part, the recommendation of the Magistrate Judge, or recommit

  the matter to him with instructions. 28 U.S.C. § 636(b)(1).

                           I. Retailer Plaintiffs' Objections

         The Retailer Plaintiffs object to the portion of the R&R ^'that

  recommends dismissal of Retailer Plaintiffs' per se claim under

  section 1 of the Sherman Act, 15 U.S.C. § 1." Retailer Pis.' Objs.

  at    1.   Specifically,    the      Retailer     Plaintiffs     assert    that   this

  ^^recommendation rests on two legally untenable propositions." Id.



  join in the Merck Defendants' Objections, Glenmark Defs.' Objs.
  at 1 n.1.
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  The   first    proposition         is    that   Merck's existing         patent       rights

  preclude application of the per se rule. Id. (citing R&R at 51).

  The   second     proposition        is   that    applying    a    per    se    rule    would

  preclude      the    court    from       examining   the     Defendants'         proffered

  justifications for settlement. Id. As explained below, the court

  finds that both propositions are legally tenable and consistent

  with controlling Supreme Court precedent.

        The Retailer Plaintiffs' objections assume that the form of

  the alleged reverse payment settlement in this case, an agreement

  by Merck not to compete with Glenmark by launching an authorized

  generic (a '^no-AG agreement"), requires this court to depart from

  FTC V. Actavis, Inc., 570 U.S. 136 (2013), and apply a per se rule.

  Retailer Pis.' Objs. at 15 (''Retailer Plaintiffs do not contend

  that all reverse-payment settlement[s] should be subject to per se

  condemnation, but rather that no-AG agreements should be subject

  to such condemnation."). However, the Retailer Plaintiffs have not

  put forth      any   meritorious argument            why    the   form    of    a   reverse

  payment settlement, such as a no-AG agreement, warrants a departure

  from Actavis. The Retailer Plaintiffs also have not identified any

  case in which a court applied a per se rule to a reverse payment

  settlement     or    a     no-AG   agreement,      and     courts   have       universally

  applied    the      rule    of     reason   to    reverse     payment         settlements,

  including those involving a no-AG agreement. See, e.g.. United

  Food & Commercial Workers Local 1776 & Participating Emps. Health
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  & Welfare Fund v. Teikoku Pharma USA, Inc.y 74 F. Supp. 3d 1052,

  1075 & n.30 (N.D. Cal. 2014) (citing cases in which ^'district

  courts have considered no-authorized generic agreements under the

  rule of reason approach as set forth by the Court in Actavis^');

  see also Leegin Creative Leather Prods./ Inc. v. PSKS, Inc., 551

  U.S. 877, 886 (2007) (''[T]he per se rule is appropriate only after

  courts have had considerable experience with the type of restraint

  at issue." (citing Broadcast Music, Inc. v. Columbia Broadcasting

  System, Inc., 441 U.S. 1, 9 (1979))).

        Instead, the Retailer Plaintiffs have analogized the alleged

  no-AG agreement to three instances in which per se rules apply: a

  horizontal     market-allegation       agreement,    a    horizontal       output

  restriction,     and   a   price-fixing     agreement.   See    Retailer    Pis.'

  Objs. at 18-23. In the R&R, the Magistrate Judge aptly concluded

  that these analogies to various per se violations all share ''the

  same fatal defect. Each relies solely on a characterization of the

  [no-AG] Agreement's effects while ignoring entirely the admittedly

  lawful basis Defendants assert for those same effects." R&R at 54.


  The   Retailer   Plaintiffs     do   not    challenge    this   conclusion     by

  adjusting their analogies or making any new arguments for applying

  a per se rule. See Retailer Pis.' Objs. In fact, the Retailer

  Plaintiffs'    objections     appear   to   repeat   verbatim    their     entire

  argument for applying a per se rule, including the analogies, from
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  their Memorandum in Opposition to Defendants' Motion to Dismiss.

  Compare id. at 15-23, with EOF No. 186 at 7-16.''

        To undermine the Magistrate Judge's conclusion, the Retailer

  Plaintiffs    attack    his    consideration     of ''the      admittedly    lawful

  basis Defendants assert for [the] effects [of the no-AG agreement]"

  in determining that a per se rule would be inappropriate. R&R

  at 54. The Retailer Plaintiffs do so by objecting to the Magistrate

  Judge's recognition of Merck's patent rights and the Magistrate

  Judge's proper application of Actavis, which permits courts to

  consider    the    proffered    justifications      for   an    alleged     reverse

  payment     settlement.   Retailer       Pis.'   Objs.    at    1.   The   Retailer

  Plaintiffs' objections overlook the very nature of the per se rules

  and disregard the clear and binding precedent of Actavis that

  directs courts to analyze reverse payment settlements under the

  rule of reason.


        The    per   se   rules    treat    certain    business        practices   as

  "necessarily illegal." Leegin Creative Leather Prods., Inc., 551



        '' This portion of the Retailer Plaintiffs' Objections that
  repeats verbatim prior arguments is not a proper objection and is
  not entitled to ^ novo review. Objections that "do not attempt to
  undermine the Magistrate Judge's findings or recommendations by
  presenting additional arguments . . . do not require this court to
  make ^ novo determinations of the R&R findings." Bennett v.
  Zydron, No. 2:17CV92, 2017 WL 4176972, at *2 {E.D. Va. Sept. 21,
  2017) (citing Nichols v. Colvin, 100 F. Supp. 3d 487, 498 (E.D.
  Va. 2015); Williams v. Astrue, No. 2:09cr60, 2010 WL 395631, at *1
  (E.D. Va. Feb. 2, 2010)). Nevertheless, even after undertaking de
  novo review, the court agrees with the Magistrate                           Judge's
  conclusion that these arguments are meritless.
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  U.S. at 886 (""The per se rule, treating categories of restraints

  as   necessarily    illegal,    eliminates   the    need     to   study   the

  reasonableness of an individual restraint in light of the real

  market   forces    at   work . . . ."   (emphasis   added)    (citing     Bus.

  Elecs. Corp. v. Sharp Elecs. Corp., 485 U.S. 717, 723 (1988))).

  Thus, if the court applied a per se rule to an alleged reverse

  payment settlement because it took the form of a no-AG agreement,

  the court must treat that settlement as ^^necessarily illegal." See

  id. By treating a particular business practice as ''necessarily

  illegal," the per se rules, by their very nature, preclude a court

  from considering the surrounding circumstances of that practice

  before deeming it illegal. See id.

        Thus, applying a per se rule to the alleged no-AG agreement

  and finding it to be necessarily illegal would preclude the court

  from balancing the competing patent and antitrust polices that

  arise in the context of a reverse payment settlement. See Actavis,

  570 U.S. at 148 ("[P]atent and antitrust policies are both relevant

  in determining the 'scope of the patent monopoly'—and consequently

  antitrust law immunity—that is conferred by a patent."). The line

  of reasoning in the R&R related to Merck's patent rights does

  nothing more than recognize that applying a per se rule would be

  inappropriate in this case because of the balance that must be

  struck between competing patent and antitrust policies. See R&R at

  51-53. This line of reasoning in the R&R further recognizes that
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  patent polices do not become any less relevant in determining the

  antitrust immunity conferred by a patent when the reverse payment

  settlement takes the form of a no-AG agreement. See id.

        Similarly,       applying   a   per    se    rule    to   the   alleged         no-AG

  agreement and finding it to be necessarily illegal would preclude

  the   court     from    considering      the      reasonableness         of     and     the

  procompetitive       justifications      for      the    alleged   reverse        payment

  settlement, as required by Actavis. See Actavis, 570 U.S. at 148

  (^Ml]t would be incongruous to determine antitrust legality by

  measuring the settlement's anticompetitive effects solely against

  patent    law    policy,     rather    than       by     measuring       them     against

  procompetitive       antitrust    policies     as       well.");   id.    at 154       (''We

  concede that settlement on terms permitting the patent challenger

  to enter the market before the patent expires would also bring

  about competition, again to the consumer's benefit.").

        Moreover, this court is bound by Actavis to evaluate a reverse

  payment settlement under the rule of reason, regardless of the

  settlement's form. In Actavis, the Supreme Court held that "reverse

  payment   settlements . . . can          sometimes         violate    the       antitrust

  laws."    Id.   at     141   (emphasis      added).      Accordingly,         the     Court

  specifically refused to evaluate reverse payment settlements under

  "presumptive rules (or a 'quick look' approach)." Id. at 159. The

  Court reasoned that applying presumptive rules "is appropriate

  only where 'an observer with even a rudimentary understanding of

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  economics could conclude that the arrangements in question would

  have an anticompetitive effect on customers and markets.'" Id.

  (quoting Cal. Dental Ass'n v. FTC, 526 U.S. 756, 770 (1999)). The

  Court did ''not believe that reverse payment settlements . . . meet

  this criterion." Id.


        The Court further reasoned that applying presumptive rules to

  reverse payment settlements would be inappropriate "because the

  likelihood of a reverse payment bringing about anticompetitive

  effects depends upon its size, its scale in relation to the payer's

  anticipated future litigation costs, its independence from other

  services for which it might represent payment, and the lack of any

  other    convincing      justification."             Id.      To    account      for   "these

  complexities" of a reverse payment settlement, the Court also held

  that a court reviewing a reverse payment settlement should apply

  the "rule of reason" to determine whether that settlement violates


  the   antitrust       laws.    Id.;    see    also      Cont'l      T.    V.,   Inc.   v.    GTE

  Sylvania      Inc.,    433    U.S.    36,    49   (1977)      ("Under      th[e]   rule     [of

  reason], the factfinder weighs all of the circumstances of a case

  in deciding whether a restrictive practice should be prohibited as

  imposing      an   unreasonable        restraint         on    competition.");         United

  States   V.    Topco    Assocs.,      Inc.,       405   U.S.       596,   607   (1972)      ("An

  analysis of the reasonableness of particular restraints includes

  consideration of the facts peculiar to the business in which the

  restraint is applied, the nature of the restraint and its effects.
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  and the history of the restraint and the reasons for its adoption."

  (citing Chicago Board of Trade v. United States, 246 U.S. 231, 238

  (1918))). In reaching this conclusion, the Court implicitly held

  that applying a per se rule to a reverse payment settlement would

  be inappropriate because a presumptive rule would not account for

  the circumstances and complexities surrounding a reverse payment

  settlement. See Actavis, 570 U.S. at 159.

         Accordingly,     the     court       finds   that     the    reasoning     and

  conclusions    in     the     R&R    that     the   Retailer       Plaintiffs     have


  specifically objected to are consistent with controlling Supreme

  Court precedent. The court further agrees with the Magistrate

   Judge's conclusion that the reverse payment settlement at issue in

  this   case   is     properly       evaluated   under      the   rule   of    reason.

   Therefore,    the    Retailer        Plaintiffs'     Objections        are     hereby

  OVERRULED, and the Retailer Plaintiffs' per se claim under § 1 of

  the Sherman Act, 15 U.S.C. § 1, is DISMISSED with prejudice.^

                        II. Glenmark Defendants' Objections

         The Glenmark Defendants ''object[] to Section V(A) of the R&R

  that concludes Direct Purchaser Plaintiffs, End-Payor Plaintiffs,

  and Retailer [Plaintiffs] have plausibly pled (1) the existence of




       5 "A district court's dismissal under Rule 12(b)(6) is, of
  course, with prejudice unless it specifically orders dismissal
  without prejudice. That determination is within the district
  court's discretion." Carter v. Norfolk Cmty. Hosp. Ass'n, Inc.,
  761 F.2d 970, 974 (4th Cir. 1985).

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   a   reverse    payment      that    is    large   and    unjustified,        and   (2)

   anticompetitive effects." Glenmark Defs.' Objs. at 1. The Glenmark

   Defendants also object to Sections V(C), (D)(1), and (D)(4) of the

   R&R to the extent those Sections incorporate the                       reasoning in

   Section V(A). Id.

        At this       stage    of the   litigation,        the   Complaints     must be

   dismissed if Plaintiffs' allegations ''fail[] to state a claim upon

   which relief can be granted." Fed. R. Civ. P. 12(b)(6). '^To survive

   a motion to dismiss, a complaint must contain sufficient factual

   matter, accepted as true, to              ^state a claim to relief that is

   plausible on its face.'" Ashcroft v. Iqbal, 556 U.S. 662, 678

   (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

   Facial plausibility means that a ^'plaintiff pleads factual content

   that allows    the   court to      draw   the   reasonable     inference     that the


   defendant     is   liable    for   the    misconduct     alleged."     Id.    (citing

   Twombly, 550 U.S. at 556). It is, therefore, not enough for a

   plaintiff to allege facts demonstrating a ^^sheer possibility" or

   ^^mere[] consist[ency]" with unlawful conduct. Id. (citing Twombly,

   550 U.S. at 557).

        The court accepts facts alleged in the Complaints as true and

   views those facts in the light most favorable to the Plaintiffs.

   See, e.g., Venkatraman v. REI Sys., Inc., 417 F.3d 418, 420 (4th

   Cir. 2005). ''A motion to dismiss under Rule 12(b)(6) tests the

   sufficiency    of    a   complaint;       importantly,    it    does   not    resolve


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  contests    surrounding     the   facts,   the    merits   of   a    claim,   or   the

  applicability of defenses.          Republican Party of N.C. v. Martin,

  980 F.2d 943, 952 (4th Cir. 1992) (emphasis added).®

  A. Objection Regarding the Existence of a Large and Unjustified
      Reverse Payment

        The Glenmark Defendants object to two different aspects of

  the Magistrate Judge's finding that the Plaintiffs have plausibly

  pled the existence of a large and unjustified reverse payment.

  First, the Glenmark Defendants assert that the Magistrate Judge's

  conclusion     that   the    Settlement      Agreement      contains      a      no-AG

  provision applies the improper legal standard and misreads the

  Settlement Agreement. Glenmark Defs.' Objs. at 4-5, 14-19. Second,

  the Glenmark Defendants assert that the Plaintiffs' circumstantial


  allegations of parallel conduct, without more, are insufficient to

  plausibly    allege   the     existence      of    a   no-AG        agreement.     Id.

  at 5, 19-22.

        1. The Settlement Agreement

        As a threshold matter, the Settlement Agreement is properly

  considered    at   this   stage    of   litigation.     Consideration         of   the

  Settlement Agreement does not convert, under Federal Rule of Civil




       ® To the extent that the analysis and conclusions in the R&R
  improperly relied upon Advanced Health-Care Servs., Inc. v.
  Radford Cmty. Hosp., 910 F.2d 139, 144 (4th Cir. 1990), R&R at 27,
  the court clarifies that the analysis and conclusions in this Order
  rely on the standards outlined here, and not on Advanced
  Health-Care Servs., 910 F.2d 139. See Glenmark Defs.' Objs. at 11.

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  Procedure 12(d), the Motions to Dismiss into Motions for Summary

   Judgment under Federal Rule of Civil Procedure 56, because the

  Settlement Agreement is "integral to and explicitly relied on in

  the [C]omplaint[s] and because [P]laintiffs do not challenge its

  authenticity." Phillips v. LCI Int^l, Inc., 190 F.3d 609, 618 (4th

   Cir. 1999). The Settlement Agreement must be viewed in the light

  most   favorable     to   the   Plaintiffs     and    all   reasonable   inferences


  from it must be drawn in the Plaintiffs' favor. See, e.g., Zak v.

  Chelsea Therapeutics Int'l, Ltd., 780 F.3d 597, 607 (4th Cir. 2015)

   ("[W]hen a court considers relevant facts from the public record

  at the pleading stage, the court must construe such facts in the

  light most favorable to the plaintiffs.").

         The Glenmark Defendants assert that the R&R is incorrect when


  it   states   that    the   Settlement        Agreement's       "language   is   only

   relevant if it unambiguously contradicts the factual claims in the

  Complaint."    Glenmark         Defs.'   Objs.       at   14   (emphasis    omitted)

   (quoting R&R at 34). There is            no question          that the Settlement

  Agreement's language is relevant, as its contents are directly at

  issue in this case, the point here being relevancy. Better stated,

  and what the court concludes, is that the Settlement Agreement

  language only requires dismissal of the Plaintiffs' claims if it

   unambiguously contradicts the allegations in the Complaints. See

  R&R at 40; see also, e.g.. Lazy Y Ranch Ltd. v. Behrens, 546 F.3d

  580, 588 (9th Cir. 2008) ("[W]e need not accept as true allegations


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   contradicting documents that are referenced in the complaint.");

   Alt. Energy, Inc. v. St. Paul Fire & Marine Ins. Co., 267 F.3d 30,

   34-36   (1st    Cir.   2001)    (concluding    the    complaint     was    properly

   dismissed under 12(b)(6) because the contract language at issue

   was unambiguous and released defendant from liability as a matter

   of law).

        The Glenmark Defendants assert that three provisions of the

   Settlement      Agreement,       sections      1.14,     5.3,       and     7.2(c),

  ''unambiguously contradict" the Plaintiffs' allegations that Merck

   agreed not to compete with Glenmark by launching an AG. Glenmark

   Defs.' Objs. at 14 n.8. Section 5.3 of the Settlement Agreement

   grants Glenmark a limited exclusive license to market "Generic

   Ezetimibe":


        During any period of exclusivity to which Glenmark is
        entitled under 21 U.S.C. § 355(j)(5) (B)(iv), and through
        the expiration of Sobering's rights under the '721
        Patent and Ezetimibe Pediatric Exclusivity, Sobering's
        grant of the rights in Paragraphs 5.1 and 5.2 is
        exclusive to Glenmark and its Affiliates with respect to
        the      commercial    distribution       and     sale    of   Generic
        Ezetimibe, subject only to Sobering's right to grant
        rights to or otherwise authorize Third Parties to make,
        have made, use, sell, offer to sell, import or distribute
        Generic Ezetimibe pursuant to such Third Parties' ANDAs
        or applications pursuant to 21 U.S.C. § 355(b)(2).

  Settlement Agreement § 5.3, EOF No. 159.               Section 1.14 of the

  Settlement Agreement defines the term "Generic Ezetimibe":



           The    Settlement      Agreement    remains    filed   under      seal.   The
  sections quoted and cited herein have previously been quoted or
  cited in publicly filed documents. See, e.g., R&R at 19-20, 32.

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        The term ^Generic Ezetimibe' shall mean a drug product
        containing ezetimibe as its sole active ingredient (a)
        that refers to the Approved Zetia Product as the
        reference-listed drug in an ANDA or pursuant to an
        application under 21 U.S.C. § 335(b)(2) or (b) that is
        sold pursuant to NDA No. 21-445 but is not sold under
        the trademark Zetia® or another trademark or trade name
        of Sobering, MSP or their Affiliates.

   Id. § 1.14. Section 7.2(c) reserves Merck's right to engage

  in ""conventional commercial conduct in competition with the

   Glenmark Product." Id. § 7.2(c).

        The Glenmark      Defendants have aptly identified the current

   question before the court as ""whether [this] license can plausibly

   be read to be an anticompetitive agreement by Merck not to compete

   with Glenmark by launching an AG." Glenmark Defs.' Objs. at 10.

   The answer to this question depends on the interpretation of the

   Settlement    Agreement's    definition     of   ""Generic    Ezetimibe,"    and

   whether that definition permits Merck to sell an AG. The Settlement

   Agreement's definition       of ""Generic Ezetimibe" permits            Merck to

   sell a product pursuant to its NDA, provided the product is ""sold

   under the trademark Zetia® or another trademark or trade name of


   Sobering, MSP or their Affiliates." Settlement Agreement § 1.14.

        The     parties   and   the    court      agree   that   the   Settlement

   Agreement's    definition    of    ""Generic    Ezetimibe"    clearly    permits

   Merck to sell a branded product, that is, a product ""sold under

   the trademark Zetia® or another trademark . . . of Sobering, MSP

   or their Affiliates." Id.; Glenmark Defs.' Objs. at 17 ("""Zetia'



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  and ^trademark' already refer to branded products."); Pis.' Reap,

  at 10 ("Glenmark's exclusivity does not extend to branded Zetia or

  to   an    ezetimibe    product    that   Merck    might   sell    under    another

  trademark or trade name."). The Magistrate Judge and the Plaintiffs

  agree     that    the   Settlement   Agreement's       definition    of ''Generic

  Ezetimibe," permitting           Merck to sell     a   product that is "sold

  under . . . another . . . trade           name    of   Sobering,    MSP    or   their

  Affiliates," can plausibly be read to allow Merck to sell only a

  branded product. Settlement Agreement § 1.14 (emphasis added); R&R

  at 35-39; Pis.' Resp. at 10 ("Glenmark's exclusivity does                         not

  extend to branded Zetia or to an ezetimibe product that Merck might

  sell      under   another   trademark     or   trade    name.").    The    Glenmark

  Defendants contend that this same language unambiguously "allowed

  Merck to . . . launch        a   nonbranded form of Zetia          under a 'trade


  name' of Merck or an affiliate, i.e., an in-house AG." Glenmark

  Defs.' Objs. at 14 (citing Settlement Agreement § 1.14).

          The court agrees with the Magistrate Judge and the Plaintiffs

  that the Settlement Agreement's definition of "Generic Ezetimibe"

  can plausibly be read as a no-AG agreement because it permits Merck

  to sell only a branded, and not a generic, product. See Settlement

  Agreement § 1.14. As the Magistrate Judge noted, "pharmaceuticals

  are not sold 'under' a manufacturer's name, but under either a

  trademarked specialty name for branded drugs (e.g. Zetia, Lipitor,

  or Celebrex) or under the generic name assigned by the [United


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  States    Adopted       Names     C^USAN")]            Council     (e.g.      ezetimibe,

  atorvastatin, celecoxib)          R&R at 38. Moreover, the pharmaceutical

  industry uses the term ''trade name" to refer to "a drug product,

  not the drug company." Pis.
                            ' Resp. at 13. This usage of the term

  "trade   name"    in    the   pharmaceutical            industry       is   supported      by

  statutory and regulatory provisions, industry publications, and

  the   Glenmark    Defendants'     filings        in     the   underlying      litigation

  between the Defendants.


        At least one provision of the Food, Drug, and Cosmetic Act

  ("FDCA") specifically uses the term "trade name" to refer to a

  pharmaceutical      product,     not    a     pharmaceutical           company.      See   21

  U.S.C.   §   355(t)(1)(A)(i).          Title      21    U.S.C.     §    355(t)(1) (A) (i)

  directs that the "drug trade name" and "brand company manufacturer"

  are to be included in a "[djatabase for authorized generic drugs."

  Id. The United States Food & Drug Administration's ("FDA") Listing

  of Authorized Generics indicates that a drug's trade name is the

  same as its proprietary or brand name, as the Listing of Authorized

  Generics includes the "[p]roprietary [n]ame," but not the generic

  name of a given product.®

        At least three provisions in Title 21 of the Code of Federal

  Regulations      also   use     the    term      "trade       name"    to    refer    to    a




       ®  FDA Listing of Authorized Generics as of July 1, 2019,
  https://www.fda.gov/media/77725/download.


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  pharmaceutical product, not a pharmaceutical company. See, e.g.,

  21 C.F.R §§ 1.101, 60.20, 316.28. At least two of these provisions

  also distinguish the ^'trade name" of a product from its ^^generic

  name." See, e.g., id. §§ 60.20, 316.28. Section 1.101 requires

  "[t]he product's trade name" be identified in the notifications

  required '^for drugs, biological products, and devices exported

  under section 802 of the act." Id. § 1.101(d)(1)(i). Under § 60.20,

  the   FDA   will    include "[t]he      trade       name    and    generic      name    (if

  applicable)    of    the   product" in        the ''regulatory           review      period

  determination"      notice    published       in    the    Federal       Register.      Id.

  § 60.20(c)(2). Pursuant to § 316.28, the FDA will include "[t]he

  generic name and trade name, if any, or if neither is available,

  the chemical name or a meaningful descriptive name of the drug" in

  a "publicly available cumulative posting of all drugs designated

  as orphan drugs." Id. § 316.28(b).

        Publications     from     the   FDA    and    Merck     further        support    the

  Plaintiffs'    reading     of   the    term    "trade       name"       to   refer    to   a

  pharmaceutical product, not a pharmaceutical company. The FDA's

  publication Approved Drug Products with Therapeutic Equivalence

  Evaluations, commonly known as the "Orange Book," uses the term

  "trade name" to refer to the proprietary name of a pharmaceutical

  product. FDA, Approved Drug Products with Therapeutic Equivalence

  Evaluations    ("Orange       Book")    at     vi     (39th       ed.    2019)       ("This

  publication also includes indices of prescription and OTC drug


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  products by trade name (proprietary name) or established name (if

  no trade    name exists)."); see            also    id.     at xii, xxii, 2-2. A

  publication    from     Merck    discussing        drug   naming     explains     that

  pharmaceuticals are       ^^given a [g]eneric (official) name" and a

  ''[bjrand   (proprietary        or   trademark       or     trade)    name."^     This

  publication    not only demonstrates the              use    of ''trade      name" to

  identify a drug, but further illustrates that a drug's "trade name"

  refers to a brand, proprietary, or trademark name, not a generic

  name. See Marsh, supra note 9. This use and understanding of the

  term "trade name" is further confirmed by the Glenmark Defendants'

  filing in the underlying litigation between the Glenmark and the

  Merck Defendants. In that litigation, Glenmark identified Zetia as

  "Sobering's    trade    name    of   the    drug    product    at    issue   in   this

  litigation."       Defendant/Counterclaim                 Plaintiff          Glenmark

  Pharmaceuticals        Inc.     USA's,      Corrected       Answer,     Affirmative

  Defenses, and Counterclaims to Complaint *]I 82, Scherinq Corp. v.

  Glenmark Pharm., Inc. USA, No. 2:07-cv-01334 (D.N.J. Jun. 7, 2007),

  ECF No. 20 ("Ezetimibe is the active ingredient in Sobering's drug

  product Zetia®, Sobering's trade name of the drug product at issue

  in this litigation." (emphasis added)).




      ® Daphne E. Smith Marsh, Overview of Generic Drugs and Drug
  Naming,   Merck    Manual   Consumer    Version   (Aug.   2017),
  https://www.merckmanuals.com/home/drugs/brand-name-and-generic-
  drugs/overview-of-generic-drugs-and-drug-naming.

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          Thus, the court can conclude that the term ''trade name," as

  used     in     the   Settlement    Agreement's   definition       of   "Generic

  Ezetimibe," can plausibly mean the proprietary or brand name of a

  drug product, and the Settlement Agreement permitted Merck to sell

  only a branded product. Because the Settlement Agreement allowed

  Merck to sell ezetimibe under a "trade name," or brand name, and

  not under the generic name "ezetimibe," the Settlement Agreement

  did not allow Merck to sell a generic product, including an AG.

  See R&R at 38. Therefore, the Settlement Agreement's definition of

  "Generic Ezetimibe" can plausibly be read as a no-AG agreement.

          The Glenmark Defendants advance a competing interpretation of

  the Settlement Agreement that does not unambiguously contradict

  Plaintiffs' reading and render it implausible. See Glenmark Defs.'

  Objs.    at     14-19.   Instead,   the    Glenmark    Defendants'      competing

  interpretation         highlights    an    ambiguity    in   the     Settlement

  Agreement. See, e.g.. Cooper River Plaza E., LLC v. Briad Grp.,

  359 N.J. Super. 518, 528 (App. Div. 2003)               {"An ambiguity in a

  contract exists if the terms of the contract are susceptible to at

  least     two     reasonable   alternative     interpretations."         (quoting

  Kaufman v. Provident Life & Cas. Ins. Co., 828 F. Supp. 275, 283

  (D.N.J. 1992))); see also Settlement Agreement § 10.3 (selecting

  New Jersey Law). The Glenmark Defendants' interpretation relies

  upon the ordinary, dictionary, meaning of "trade name" to refer to

  a company. Glenmark Defs.' Objs. at 15-18; Flaniqan v. Munson, 175


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  N.J.    597,   606   (2003)   (^^Consistent     with   familiar    canons   of

  construction, the words of an agreement are given their ^ordinary'

  meaning."). Whereas, the Plaintiffs' interpretation relies on the

  meaning of ^'trade name" as used in the pharmaceutical industry to

  refer to a branded product. Plfs.' Resp. at 13-14; Guide to New

  Jersey Contract Law § 5.4.5 (2013) (''Technical terms or words of

  art will be given their technical meaning, unless the context or

  local usage shows a contrary intention." (citing Josefowicz v.

  Porter, 32 N.J. Super. 585, 591 (App. Div. 1954))).

         At this juncture, the court does not need to determine which

  interpretation is more probable or correct. Martin, 980 F.2d at 952

  ("A motion to dismiss under Rule 12(b)(6) . . . does not resolve

  contests surrounding the facts."). Rather, the court finds that

  the    Settlement    Agreement's   definition    of "Generic      Ezetimibe,"

  specifically, the meaning of "sold under . . . another . . . trade

  name of Sobering, MSP or their Affiliates," is open to at least

  two reasonable alternative interpretations, and thus, the meaning

  of "trade name" is ambiguous. See Cooper River Plaza E., LLC, 359

  N.J. Super. 518. Accordingly, the Settlement Agreement does not

  clearly and unambiguously allow Merck to sell an AG, and it can

  plausibly be read as a no-AG agreement because it only permits

  Merck to sell a branded, rather than a generic, product.




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         2. The Circumstantial Allegations

         The    Glenmark         Defendants           assert       that   the       Plaintiffs'


   circumstantial allegations of parallel conduct, without more, are

   insufficient       to     plausibly      allege       the       existence     of    a     no-AG

   agreement.    Glenmark         Defs.'    Objs.      at     5-6,    19-22.    The    Glenmark

   Defendants    further        assert     that "[t]he          R&R   erred    in    concluding

   otherwise." Id.         at    19.    However,       the    Magistrate       Judge    did    not

   conclude     in     the       R&R     that    the        Plaintiffs'        circumstantial


   allegations       alone      plausibly       allege       the   existence     of    a     no-AG

   agreement. See R&R at 31-32, 39-40.

         The Magistrate Judge's conclusion                      that the Plaintiffs had

   plausibly alleged the existence of a no-AG agreement relied on the

   Plaintiffs'       detailed         allegations       in     the    Complaints       and    the

   language in the Settlement Agreement. Id. at 39-40 ('^The other

   allegations in the Complaint[s], and the language of the Settlement

   Agreement itself,         are       sufficient to          plausibly   allege       [a   no-AG

   agreement]." (emphasis added)). The Magistrate Judge's analysis in

   the   R&R   viewed      the       Plaintiffs'      circumstantial          allegations      as

  '"corroborating," not independently                    supporting,      the       Plaintiffs'

   allegation of a no-AG agreement. Id. ("This is particularly so in

   light of other corroborating evidence of the Agreement, including

   Glenmark's    claims         to     exclusivity       on    release    of     its    generic

   ezetimibe and Merck's failure to release any authorized generic in




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   competition with Glenmark's generic product throughout the 180-day

   period of exclusivity.").

          Moreover, the success of the Glenmark Defendants' argument

   relies on the court finding that the Settlement Agreement does not

   plausibly contain a no-AG clause. Glenmark Defs.' Objs. at 19 (''In

   the absence of a plausible allegation as to the existence of a

   full No-AG clause in the Settlement Agreement, Plaintiffs are left

   only with alleged circumstantial evidence.").                       As discussed above,

   the court agrees with the conclusion in the R&R that the Settlement

   Agreement,      when     viewed    in   the       light     most    favorable     to   the

   Plaintiffs, plausibly contains a no-AG clause and does not render

   the    Plaintiffs'     allegation       of    a    no-AG      agreement      implausible.

   Accordingly, the court agrees with the Magistrate Judge's analysis

   and    views     the      Plaintiffs'         circumstantial           allegations      as

   corroborating,         rather      than      independently           supporting,       the

   Plaintiffs' plausible allegation of a no-AG agreement.

   B. Objection Regarding Anticompetitive Effects

          The    Glenmark    Defendants      object       to     the   Magistrate    Judge's

   finding that the Plaintiffs have plausibly pled anticompetitive

   effects.      Glenmark    Defs.'    Objs.         at   1,   6,    22-25.   The   Glenmark

   Defendants assert that the Magistrate Judge erred in two different

   ways   with    respect    to    this finding.           Id.      at 22-25.    First, the

   Glenmark Defendants assert that the Magistrate Judge applied the

   wrong legal standard in the R&R. Id. at 22-23. Second, the Glenmark


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   Defendants assert that the Magistrate Judge incorrectly concluded

   that    '"important       differences      between     the    Mylan    and     Glenmark

   challenges undercut the Defendants' argument that the Plaintiffs'

   claims of anticompetitive effect lack plausibility." Id. at 23

   (quoting R&R at 44).

          First,      the    Magistrate      Judge     applied   the     correct    legal

   standard.        The     plausibility      pleading     standard      requires       the

   Plaintiffs to plead sufficient facts that when accepted as true

   "allow[]     the    court    to   draw    the   reasonable    inference      that    the

   defendant is liable for the misconduct alleged." Iqbal, 556 U.S.

   at 678      (citing      Twombly,   550    U.S. at 556). "[A]t the             pleading

   stage," the court "consider[s] plausibility, not probability." In

   re Lipitor Antitrust Litig., 868 F.Sd 231, 260 (3d Cir. 2017); see

   also id. at 267-68 (considering whether prior litigation rendered

   plaintiffs' allegations implausible).^® Thus, the Magistrate Judge

   applied the correct legal standard when he assessed whether the

   later       Mylan        litigation       renders     Plaintiffs'        allegations

   implausible, not whether it makes Plaintiffs' allegations less

   probable. See R&R at 44-45, 47-48.




          ^0   To   the     extent the      Glenmark    Defendants'      object    to   the
   Magistrate Judge's reliance on In re Lipitor Antitrust Litig., 868
   F.3d 231, 260 (3d Cir. 2017), Glenmark Defs.' Objs. at 24 n.l5,
   the court agrees with the Magistrate Judge's consideration of this
   persuasive authority as instructive, R&R at 44-45.

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         Second, the Magistrate Judge correctly concluded that Merck's

  success in the later Mylan patent litigation does not render the

  Plaintiffs' allegations of anticompetitive effects implausible.

  R&R at 47 (''In short, the fact that Merck successfully defeated a

  single challenge by a later-in-time ANDA filer does not totally

  undermine    Plaintiffs'      claims    of anticompetitive effect."). The

  Plaintiffs' allegations of anticompetitive effects are that "but

  for the no-AG promise, the strength of Glenmark's patent challenge

  would have produced one of two outcomes. The two companies would

  have settled with an earlier generic entry date, or Glenmark would

  have prevailed in the litigation, invalidated the '721 patent, and

  launched its generic thereafter." Id. at 41 (citing DPP Compl.

        199-203).   If   the    Plaintiffs     have   plausibly   alleged   that

  Glenmark's patent claims against Merck had substantial merit, then

  the    Plaintiffs      have   alleged    "anticompetitive   effect   because

  Glenmark's delay is not entirely out of respect for a valid patent,

  but rather the result of the Defendants' agreement to allocate

  unlawful monopoly profits obtained by paying Glenmark to delay

  generic entry in the form of the no-AG agreement." Id. at 41-42.

         The Glenmark Defendants' arguments to the contrary fail. The

  Glenmark Defendants again apply an incorrect probability standard,

  as opposed to the correct plausibility standard, to the Plaintiffs'

  allegations. Glenmark Defs.' Objs. at 23-25 ("Those allegations

  plainly are not enough to tip the scales in Plaintiffs' favor when


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  weighed against the actual outcome of the trial and appeal.").

  Additionally,       the   Glenmark          Defendants'       argument       that   the

  Plaintiffs' allegations are implausible because Merck prevailed in

  the    Mylan   litigation,      id.    at    24-25,    ignores       the    Plaintiffs'

  allegations that not all claims raised in the Glenmark litigation

  were litigated to final judgment in the Mylan litigation.

         The court agrees with the Magistrate Judge's review of the

  Plaintiffs' detailed allegations regarding the claims raised in

  the Glenmark litigation that were not litigated to final judgment

  in    the Mylan    litigation. R&R at 42,             45-47    (citing      DPP Compl.

  SISI 155-60). Accordingly,       the    court agrees          with    the    Magistrate

  Judge's conclusion that the Mylan litigation does not render the

  Plaintiffs'       allegations    implausible          and    the     Plaintiffs     have

  adequately pled anticompetitive effects.                    Because the Plaintiffs

  have    plausibly    alleged    a     no-AG      agreement    and     anticompetitive

  effects, the Glenmark Defendants' Objections are hereby OVERRULED,

  and the Defendants' Motion to Dismiss the § 1 Sherman Act claims


  is DENIED.




         To the extent that the Glenmark Defendants object to other
  portions of the R&R because ''they rely on or incorporate the
  reasoning of Section V(A), including Sections V(D)(1), and
  V(D)(4)," Glenmark Defs.' Objs. at 1, the court OVERRULES those
  objections for the reasons stated in Part II of this Order.
  Similarly, to the extent there are objections to Section V(B) of
  the R&R based on the arguments already addressed, the court
  OVERRULES those objections for the reasons stated in Part II of
  this Order.


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                           III. Merck Defendants' Objections

        The Merck Defendants raise numerous objections to Sections

   V.D.2 through V.D.6 of the R&R. Merck Defs.' Objs. at 2. The court

   has conducted a ^ novo review of the record and will briefly

   address the objections by Section below.

   A. Objections to Section V.D.2.

        The Merck Defendants object to the Magistrate Judge's finding

   that the EPFs have Article III standing, and his conclusion that

   the ability of the named class representatives to represent absent

   class members' state law claims should be addressed under Federal


   Rule of Civil Procedure 23. Merck Defs.
                                         ' Objs. at 3-7. The court

   agrees   with    the   Magistrate   Judge's    well-reasoned analysis         and

   conclusion      that   the   Article   III    standing   issue   is   properly

   addressed at the time of class certification. R&R at 59-62. Thus,

   the Merck Defendants' objection is OVERRULED, and the Defendants'

   Motion to Dismiss the EPFs' claims for lack of standing is DENIED.

   B. Objections to Section V.D.3.

        The      Merck    Defendants   raise     several    objections      to   the

   Magistrate Judge's recommendation that the EPFs' state antitrust

   claims   in    nineteen   jurisdictions      should   proceed.   Merck    Defs.'

   Objs. at 7-16.

        1. Objections Regarding Section V.D.3.a.

        The Merck Defendants object to the Magistrate Judge's finding

   that indirect purchasers have standing under Puerto Rico law. Merck


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  Defs.' Objs. at 8-11. The court agrees with the Magistrate Judge's

  conclusions and reliance on Pressure Vessels P.R. v. Empire Gas

  P.R., 137 D.P.R. 497, 518-20 (1994), and Riveria-Muniz v. Horizon

  Lines Inc., 737 F. Supp. 2d 57, 61 (D.P.R. 2010). R&R at 63-65.

  Thus, the Merck Defendants' objections is hereby OVERRULED, and

  the   Defendants'    Motion    to   Dismiss    the      EPPs'   claim   under    Puerto


  Rico law is DENIED.


        2. Objections Regarding Section V.D.3.b.

        The Merck Defendants object to the Magistrate Judge's finding

  that the EPPs plausibly allege an intrastate connection sufficient

  to meet the requirements of state law. Merck Defs.' Objs. at 11-12.

  The   court    agrees   with    the     Magistrate         Judge's      well-reasoned

  analysis and conclusion that EPPs have '"sufficiently allege[d] the

  necessary     intrastate      connections      in       each    of   the   challenged

  jurisdictions."      R&R   at       65-67.    Thus,       the   Merck      Defendants'

  objection     is   hereby OVERRULED,         and    the    Defendants'      Motion   to

  Dismiss the EPPs' claims for insufficient intrastate connections


  is DENIED.


        3. Objections Regarding Section V.D.3.C.

        The   Merck    Defendants       object       to    the    Magistrate      Judge's

  conclusion that the EPPs' failure to timely comply with statutory

  notice requirements does not warrant dismissal. Merck Defs.' Objs.

  at 12-13. The court agrees with the Magistrate Judge and finds the

  reasoning in In re Broiler Chicken Antitrust Litig., 290 F. Supp.


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  3d    112,   817   (N.D.   111.   2017),    and    In    re     Aftermarket    Filters

  Antitrust Litiq., No. 08C4883, 2009 WL 3754041, at *6 (N.D. 111.

  Nov. 5, 2009), to be persuasive that failure to timely comply with

  pre-suit notice requirements does not warrant dismissal. Assuming

  arquendo that the statutory notice requirements apply in federal

  court, the statutes do not require dismissal for failing to comply

  precisely with the notice requirement. See R&R at 69.                        Moreover,

  the   court agrees     with   the   Magistrate          Judge    that   dismissal is

  unwarranted in       this case because the EPFs' delay in                    providing

  notice did not prejudice the Defendants. See id. Thus, the Merck

  Defendants' objection is hereby OVERRULED, and the                       Defendants'

  Motion to Dismiss the EPFs' claims for improper notice is DENIED.

         4. Objections Regarding Section V.D.3.d.

         The   Merck    Defendants    object        to    the     Magistrate     Judge's

  conclusion that the Illinois Antitrust Act class-action bar does


  not apply in federal court. Merck Defs.' Objs. at 13-15. The court

  agrees with the Magistrate Judge's analysis of the plain text of

  the Illinois Antitrust Act, 740 111. Comp. Stat. 10/7(2), and the




       ^2 Contrary to the Merck Defendants' objection, the Magistrate
  Judge did not conclude that the notice requirements are procedural
  and inapplicable in federal court. See R&R at 67-69. Rather, the
  Magistrate Judge properly assumed the requirements apply in
  federal court, but the late or improper notice did not warrant
  dismissal. Id. at 68-69. The Magistrate Judge merely noted, without
  concluding, that     Shady Grove may preclude" ^^more complex
  procedural requirements" from applying in federal court. Id.
  at 69.


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  Magistrate Judge's finding that pursuant to Shady Grove Orthopedic

  Assocs., P.A. V. Allstate Ins. Co., 559 U.S. 393 (2010), '^Rule 23

  governs class actions in federal court and permits the EPFs' suit

  under   the    Illinois      statute."       R&R    at   69-72.    Thus,       the   Merck

  Defendants' objection is hereby OVERRULED, and the Defendants'

  Motion to Dismiss the EPFs' Illinois antitrust claims is DENIED.


         5. Objections Regarding Section V.D.3.e.

         The Merck Defendants object to the Magistrate Judge's finding

  that the EPFs have standing under the Utah Antitrust Act. Merck

  Defs.' Objs. at 15-16. The court agrees with the Merck Defendants

  that    the    Magistrate     Judge's        reasoning     seems        to   '^conflat[e]

  Defendants'        Article   III    standing       arguments     with    the    arguments

  Defendants actually make concerning Utah." Id. Specifically, the

  Merck Defendants argue that the EPFs have not sufficiently alleged

  that ^^any [named] EPF is a Utah citizen or resident," and only a

  Utah citizen or resident may bring a claim under the Utah Antitrust

  Act. Id. at 16 (citing Utah Code Ann. § 76-10-3109(1)(a)). This

  argument      is   distinct    from    the    Merck      Defendants'         Article    III

  argument      that    the    EPFs     lack    standing      to    bring        claims    in

  jurisdictions where the named EPFs "do not reside and do not claim

  to have made even a single purchase." Id. at 3-7 (emphasis added)

  (asserting the named EPFs have not alleged an injury in those

  jurisdictions); see also EPF Compl. SI 12, EOF No. 130 (alleging

  Self-Insured Schools of California "indirectly purchased, paid for


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  and/or    provided    reimbursement        for   Zetia     and/or    its     generic

  equivalent" in Utah)

          Nevertheless,    the    court      finds,    drawing   all     reasonable

  inferences in favor of the EPFs, that the EPFs have sufficiently

  alleged that the class includes Utah residents. EPF Compl. ^ 311

  (bringing claims ^^on behalf of the following Class: All persons

  and   entities   in   the    Indirect Purchaser       States   that indirectly

  purchased, paid and/or provided reimbursement for some or all of

  the purchase price of Zetia or its AB-rated generic equivalents in

  any form . . .           id. f 337(x) (alleging a violation of the Utah

  Antitrust Act ^^with respect to purchases of Zetia and AB-rated

  generic equivalents in Utah by Class members and/or purchases by

  Utah residents"). Moreover, to the extent that the Merck Defendants

  argue that the Utah Antitrust Act requires that a named EPF or

  class    representative      is a   Utah   citizen    or   resident,   the     court

  agrees with the EPFs that there is no such requirement in the text

  of the statute. See Utah Code Ann. § 76-10-3109(1)(a) (^'A person




            Self-Insured Schools of California is the only named EPF
  that asserts it ""indirectly purchased, paid for and/or provided
  reimbursement for Zetia and/or its generic equivalent" in Utah.
  EPF Compl. ^ 12. On May 7, 2019, Self-Insured Schools of California
  voluntarily dismissed its claim without prejudice. ECF No. 248. To
  the extent this voluntary dismissal raises an Article III standing
  issue   with  respect   to   the   ability  of   the  named   class
  representatives to represent absent class members' claims under
  Utah law, that issue should be             addressed under     Federal Rule of
  Civil     Procedure     23   during     class    certification.        See    supra
  Part III.A.


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  who is a citizen of this state or a resident of this state and who

  is injured or is threatened with injury in his business or property

  by a violation of the Utah Antitrust Act may bring an action for

  injunctive relief and damages, regardless of whether the person

  dealt directly or indirectly with the defendant."); see also EPFs'

  0pp. at 12. Thus, a class representative that is not a Utah citizen

  or resident may bring claims on behalf of absent class members who

  are citizens or residents of Utah. See, e.g.. In re Generic Pharm.

  Pricing Antitrust Litiq., 368 F. Supp. 3d 814, 838-39 (E.D. Pa.

  2019);      In     re     Liquid     Aluminum        Sulfate        Antitrust      Litig.,

  No. 16-md-2687, 2017 WL 3131977, at *28 (D.N.J. July 20, 2017); In

  re   Asacol      Antitrust       Litig.,    No.   15-cv-12730,       2016    WL   4083333,

  at *13 (D. Mass. July 20, 2016).

        Based on this reasoning set forth above, with supporting case

  law, the court agrees with the Magistrate Judge's conclusion that

  the EPFs can bring claims under Utah's Antitrust Statute. See R&R

  at 72-73.        Thus,    the    court MODIFIES       the    reasoning      in    the   R&R,

  OVERRULES        the     Merck    Defendants'        objection,       and    DENIES     the

  Defendants' Motion to Dismiss the EPFs' Utah antitrust claim.


  C. Objection to Section V.D.4.

        The     Merck      Defendants        object    to     the   Magistrate        Judge's

  recommendation that the EPFs' state law monopolization claims may

  proceed, with the exception of the claim under California Code

  § 17200.      Merck      Defs.'     Objs.    at     16-17.    The    Merck       Defendants


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  acknowledge that the EPFs' state law monopolization claims ^^rely
  on the same factual allegations [that] the DPPs and Retailers rely

  on for their federal monopolization claim." Id. at 16 (citing R&R

  at 73). For the reasons discussed supra Part II, the court agrees

  with    the    Magistrate     Judge   that all   Plaintiffs   have ''alleged

  sufficient facts to state a claim of conspiracy to monopolize

  under" federal and state law. R&R at 74.


         To the extent the Merck Defendants object to the Magistrate

  Judge's assertion that the Defendants did not raise any specific

  challenges to the state law monopolization claims, Merck Defs.'

  Objs.   at     16-17,   the   court   acknowledges   that   the   Defendants'

  arguments and objections addressed supra Part III.B, would apply

  to both the EPFs' conspiracy and monopolization claims. See also

  Merck Defs.' Mem. Supp. Mot. Dismiss at 11, ECF No. 163 (addressing

  the EPFs' conspiracy and monopolization claims together). For the

  reasons stated supra Parts II and III.B, the court OVERRULES the

  Merck Defendants' objection and DENIES the Defendants' Motion to

  Dismiss       the   EPFs'   state   law   monopolization   claims,   with   the

  exception of the claim under California Code § 17200. The court

  DISMISSES with prejudice the EPFs' claim under California Code

  § 17200.




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  D. Objections to Section V.D.5.

         The   Merck    Defendants          raise    several     objections    to   the

  Magistrate Judge's recommendation that some of the EPFs' consumer

  protection claims should proceed. Merck Defs.' Objs. at 18-24.

         1. Objections Regarding Section V.D.S.a.

         The   Merck    Defendants      object       to    the   Magistrate    Judge's

  conclusion that the EPFs can bring indirect purchaser actions under

  the consumer protection laws of Illinois and Missouri. Merck Defs.'

  Objs. at 18-19. The Merck Defendants objection regarding the EPFs'

  claim under the consumer protection laws of Illinois is based on

  the same reasoning as the objection previously addressed supra

  Part   III.B.4.      The    court    agrees       with   the   Magistrate    Judge's

  reasoning and conclusion that the EPFs can                      bring an indirect

  purchaser    action        under    the    consumer      protection   statutes    of

  Illinois. See R&R at 75-76. The court further agrees                        with the

  Magistrate Judge's reasoning and conclusion that Gibbons v. J.

  Nuckolls, Inc., 216 S.W.Sd 667 (Mo. 2007), permits an action by

  indirect purchasers under Missouri's consumer protection statutes.

  See R&R at 77. Thus, the Merck Defendants' objections are hereby

  OVERRULED, and the Defendants' Motion to Dismiss the EPFs' Illinois

  and Missouri consumer protection claims is DENIED on this basis.

  However, the court DISMISSES the EPFs' consumer protection claim

  under Missouri law without prejudice on other grounds, namely, the




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  EPPs     are    not    proper     plaintiffs       under     Missouri's     consumer

  protection statutes. See R&R at 91, 93.

         2. Objections Regarding Section V.D.S.b.

         The     Merck   Defendants    object       to   the    Magistrate     Judge's

  recommendation that the court permit the EPPs' claims to proceed

  under the consumer protection statutes of Arizona, Idaho, Maine,

  Rhode Island, and Vermont. Merck Defs.' Objs. at 19-20.

         With respect to Arizona, the court agrees with the Magistrate

  Judge's      conclusion    that    Arizona's      consumer    protection     statute

  covers    an    ''unfair   act,"   Ariz.    Rev.    Stat.    Ann.   §   44-1522(A),

  includes a Federal Trade Commission Act ("FTC Act") harmonization

  provision, id. § 44-1522(C), and therefore, broadly covers unfair

  trade practices. See R&R at 79. Moreover, the court finds the Merck

  Defendants' citation to Watts v. Medicis Pharm. Corp., 365 P.3d

  944 (Ariz. 2016), unpersuasive. Watts merely recites the elements

  of a consumer fraud claim under the Arizona consumer protection

  statute prior to the addition of "unfair act" to the statute in

  2013. Id. at 953 ("[T]o succeed on a claim of consumer fraud, a

  plaintiff must show (1) a false promise or misrepresentation made

  in connection with the sale or advertisement of 'merchandise,' and

  (2)    consequent       and     proximate      injury      resulting       from    the

  misrepresentation, (citing Kuehn             v.    Stanley,    91   P.3d    346,   351

  (Ariz. Ct. App. 2004))). As such, the Merck Defendants' objection




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  is hereby OVERRULED, and the Defendants' Motion to Dismiss the

  EPFs' claim under Arizona's consumer protection statute is DENIED.

          With respect to Idaho, the Merck Defendant's object to the

  Magistrate Judge's initial conclusion in § V.D.S.b of the R&R that

  the EPFs' claim premised on anticompetitive conduct may proceed

  under    Idaho's    consumer    protection     statute       because   the statute

  ""prohibits unfair methods of competition and aligns its consumer

  protection statute with the FTC Act." R&R at 80 {citing Idaho Code

  §§ 48-603, -604). This part of the objection is well-taken, but it

  overlooks the Magistrate Judge's later conclusion in § V.D.5.C

  that the same claim should be dismissed because Idaho's consumer


  protection statute is limited to ""unconscionable "sales conduct'

  that is directed at the consumer." Id. at 85 (quoting State ex

  rel. Wasden v. Diacel Chem. Indus., Ltd., 106 P.3d 428, 433-35

  (Idaho    2005)).     The   court    agrees    with    the    Magistrate     Judge's

  conclusion    that the EPFs         cannot pursue      a     claim   under   Idaho's

  consumer protection statute because the EPFs have                      not alleged

  ""unconscionable "sales conduct' that is directed at the consumer."

  See   Wasden,   106    P.3d    at    433-35.   Thus,    the    Merck   Defendants'

  objection is OVERRULED AS MOOT, and the EPFs' claim under Idaho's

  consumer protection statute is DIMISSED with prejudice.

        With respect to Maine, the court agrees with the Magistrate

  Judge's reasoning and conclusion that the EPFs' claim premised on

  anticompetitive       conduct       may   proceed     under    Maine's       consumer


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  protection statute. R&R at 80-81. The Merck Defendants assertion

  that ''consumer-directed deception or inducement" is required,

  Merck Defs.' Objs. at 19, ignores the plain language of Maine's

  consumer protection statute that encompasses claims of "unfair

  methods    of      competition" and            includes         a    FTC    Act    harmonization

  provision. Me. Stat. tit. 5, § 207. The court finds the Merck

  Defendants'        citation        to    In   re    TFT-LCD         (Flat       Panel)   Antitrust

  Litiq.,      586    F.    Supp.          2d   1109,          1126-27    (N.D.       Cal.    2008),

  unpersuasive        because         it    misreads           Tunqate       v.    MacLean-Stevens

  Studios, Inc., 714 A.2d 792 (Me. 1988), a case about "unfair or

  deceptive     acts       or    practices,"          specifically           an    unfair    pricing

  claim, to apply to cases about unfair methods of competition. Thus,

  the   Merck     Defendants'          objection          is    hereby    OVERRULED,         and   the

  Defendants'        Motion      to    Dismiss        the      EPFs'     claim      under    Maine's


  consumer protection statute is DENIED on this basis. However, the

  EPFs' claim under Maine's consumer protection statute is DISMISSED

  without prejudice because the EPFs are not the proper plaintiffs

  under that statute. R&R at 91-92.


        With    respect         to    Rhode     Island,         the   court       agrees    with   the

  Magistrate Judge's reasoning and conclusion that the EPFs' claim

  premised      on    anticompetitive            conduct         may     proceed      under    Rhode

  Island's consumer             protection       statute. R&R at 83. The                    court is

  persuaded by the Supreme Court of Rhode Island's broad reading of

  Rhode Island's consumer protection statute in Ames v. Oceanside


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  Welding & Towing Co., Inc.. 767 A.2d 677, 681 (R.I. 2001). Thus,

  the Merck Defendants' objection is hereby OVERRULED, and the

  Defendants' Motion to Dismiss the EPFs' claim under Rhode Island's

  consumer protection statute is DENIED on this basis. However, the

  EPFs' claim under Rhode Island's consumer protection statute is

  DISMISSED without prejudice because the EPFs are not the proper

  plaintiffs under that statute. R&R at 91, 93.

        With respect to Vermont, the court agrees with the Magistrate

  Judge's reasoning and conclusion that the EPFs' claim premised on

  anticompetitive         conduct   may   proceed      under   Vermont's     consumer

  protection statute. R&R at 84. Moreover, Elkins v. Microsoft Corp.,

  817 A.2d 9 (Vt. 2002), requires a broad reading of Vermont's

  consumer    protection      statute       and   clarifies    that   the    FTC   Act

  harmonization provision in Vermont's consumer protection statute

  applies ^^to § 2453(a), which sets out the practices prohibited

  under the Act." Id. at 13, 17. The court finds In re Propranolol

  Antitrust Litig., 249 F. Supp. 3d 712, 729 (S.D.N.Y. 2017), cited

  by the Merck Defendants, to be unpersuasive because it fails to

  account    for    the    clear    precedent     of   Elkins.   Thus,      the   Merck

  Defendants' objection is hereby OVERRULED, and the                     Defendants'

  Motion    to     Dismiss   the    EPFs'    claim     under   Vermont's     consumer


  protection statute is DENIED on this basis. However, the EPFs'

  claim    under    Vermont's   consumer protection statute           is DISMISSED




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  without prejudice because the EPPs are not the proper plaintiffs

  under that statute. R&R at 91, 93.

          3. Objections Regarding Section V.D.S.c.

          The Merck Defendants object to the Magistrate Judge's finding

  that the consumer protection statutes of Illinois and West Virginia

  encompass antitrust violations. Merck Defs.' Objs. at 20-21. The

  Merck Defendants' objection regarding Illinois is premised on the

  assertion that only the Illinois Attorney General may bring an

  antitrust class action on behalf of indirect purchaser plaintiffs.

  Id. at 20. As the court concluded supra Part III.B.4, the Illinois

  Antitrust Act class-action bar does not apply in federal court.

  Because    the   court    found   that   the   EPPs'   claims   under   Illinois's


  antitrust statute may proceed, the EPPs' claims under Illinois's

  consumer protection statute may also proceed. See Sieqel v. Shell

  Oil Co., 480 F. Supp. 2d 1034, 1046-48 (N.D. 111. 2007) (^MA]

  plaintiff may not use the Consumer Fraud Act when doing so would

  be inconsistent with the legislative               intent manifested in           the

  Illinois Antitrust Act."). Thus, the Merck Defendants' objection

  is hereby OVERRULED, and the Defendants' Motion to Dismiss the

  EPPs'    claim    under    Illinois's     consumer     protection       statute    is

  DENIED.


        With   respect to West Virginia, the court agrees                   with    the

  Magistrate Judge's reasoning and conclusion that the EPPs' claim

  under West Virginia's consumer protection laws may proceed. R&R


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   at 85. The court finds persuasive the reasoning in In re Packaged

   Seafood Prods. Antitrust Litig. /'              242 F. Supp. 3d 1033, 1087-88

   (S.D. Cal. 2017), which permitted claims to proceed under West

   Virginia's       consumer       protection      statute     on    the    basis        of    the

   statute's FTC Act harmonization provision. The Merck Defendants

   misread and misconstrue the citations in In re Packaged Seafood

   Prods. to require allegations of false or misleading statements

   for a claim to proceed under West Virginia's consumer protection

   statute. Merck Defs.' Objs. at 20-21. Thus, the Merck Defendants'

   objection       is   hereby OVERRULED,          and   the   Defendants'            Motion     to

   Dismiss the EPFs' claim under West Virginia's consumer protection

   statute is DENIED.


          4. Objections Regarding Section V.D.S.d.

          The Merck Defendants object to the Magistrate Judge's finding

   that   the      EPFs    have    adequately      alleged      sufficient            intrastate

   connections with respect to the EPFs' claims under the consumer

   protection laws of New Hampshire, New York, and North Carolina.

   Merck Defs.' Objs. at 21. In support of this objection, the Merck

   Defendants      rely     on    arguments   previously       considered             supra    Part

   III.B.2.     The     court,    again,   agrees    with      the   Magistrate          Judge's

   reasoning and          conclusion    that the     allegation       of        ^^a   nationwide

   pattern    of    conduct      that   resulted    in   consumers         in     each    of   the

   challenged jurisdiction purchasing ezetimibe at elevated prices"

   adequately pleads sufficient intrastate connections. R&R at 87-88;


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   see also    Sheet Metal Workers Local 441              Health    &   Welfare   Plan   v.


   GlaxoSmithKline, PLC, 737 F. Supp. 2d 380, 400 (E.D. Pa 2010)

   (denying    motion     to    dismiss    for     failure    to    allege   sufficient

   intrastate effects in North Carolina "[w]ithout clear authority

   for the proposition that the sale and marketing of a product in

   North Carolina is insufficient intrastate conduct to expose [the

   defendant]       to   antitrust    liability      there");       LaChance      v.   U.S.

   Smokeless Tobacco Co., 931 A.2d 571, 578 (N.H. 2007) (noting that

   New Hampshire's consumer protection statute covers ''any trade or

   commerce directly or indirectly affecting the people of this state"

   (quoting N.H. Rev. Stat. Ann. § 358-A:l)); Goshen v. Mutual Life

   Ins. Co. of N.Y., 774 N.E.2d 1190, 1195 (N.Y. 2002) ("We conclude

   that the transaction in which the consumer is deceived must occur


   in New York.").

           Thus, the Merck Defendants' objection is hereby OVERRULED,

   and the Defendants' Motion to Dismiss the EPFs' consumer protection

   claims for lack of intrastate connections is DENIED. However, the

   EPFs'    claim    under     New   York's    consumer      protection      statute     is

   DISMISSED without prejudice "[b]ecause the allegations here do not

   reflect consumer-oriented deception by any Defendants." R&R at 82.

         5. Objections Regarding Section V.D.S.e.

         The   Merck      Defendants      object     to   the      Magistrate     Judge's

   conclusion that the EPFs are proper plaintiffs under Virginia's

   consumer protection statute. Merck Defs.' Objs. at 21-22. The Merck


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   Defendants contend that the Magistrate           Judge's reasoning, that

   ^^the mere fact that the underlying transaction (that is, the drug

   purchase) is for ^personal, family, or household use,' as most of

   the laws at issue require, does not extend a right of action to

   third-party payors which reimburse those payments as part of a

   separate insurance obligation," should apply to the EPFs' claim

   under Virginia's consumer protection           statute. Id. (quoting R&R

   at 91).     The    Magistrate    Judge's   reasoning,    quoted    above,   is

   premised on the fact that the EPFs ''do not actually make purchases—

   rather, they reimburse their members or pharmacies for the costs

   of   Zetia    or     ezetimibe   purchases     when   their     members    fill

   prescriptions." R&R at 90-91 (emphasis added).

         The    Merck    Defendants    overlook    the     plain   language    of

   Virginia's consumer protection statute, which does not require

   that the EPFs themselves purchased Zetia or ezetimibe. Cf. Me.

   Stat. tit. 5, § 213 (providing a remedy only to "[a]ny person who

   purchases or leases goods, services or property, real or personal,

   primarily for personal, family or household purposes"); Mo. Rev.

   Stat. § 407.025 (providing a remedy only to "[a]ny person                   who

   purchases or leases merchandise primarily for personal, family or

   household purposes"); 6 R.I. Gen. Laws § 6-13.1-5.2 (providing a

   remedy only to "[a]ny person who purchases or leases goods or

   services primarily for personal, family, or household purposes").

   Instead, Virginia's consumer protection statute provides a remedy


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   for "[a]ny person who suffers loss as the result of a violation of

   this chapter." Va.        Code    Ann. § 59.1-204. ''^Person'     means   any

   natural person, corporation, trust, partnership, association and

   any other legal entity." Id. § 59.1-198. And, the loss must be the

   result of ^^fraudulent acts or practices committed by a supplier in

   connection with a consumer transaction." Id. § 59.1-204, -200.

          In sum, Virginia only requires that the EPFs suffered a loss

   in connection with a consumer transaction. Thus, the court agrees

   with the Magistrate Judge's interpretation of the plain language

   of Virginia's statute, and the court concludes that the EPFs have

   sufficiently alleged that they suffered a loss in connection with

   a consumer transaction by reimbursing consumer transactions. See

   R&R at 90. The Merck Defendants' objection is hereby OVERRULED,

   and the Defendants' Motion to Dismiss the EPFs' consumer protection

   claim under Virginia law is DENIED.

          6. Objections Regarding Section V.D.S.f.

          The   Merck    Defendants     object   to   the   Magistrate   Judge's

   conclusion    that the     ^^EPPs' failure to send pre-suit notice to

   Defendants does not warrant dismissal of their Massachusetts and


   West   Virginia      consumer    protection   claims." Merck   Defs.'   Objs.

   at 22-23 (citing R&R at 93-95). With respect to West Virginia, the

   court agrees with the Magistrate Judge's interpretation of the

   plain text of the statute, which clearly permits a post-filing




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   demand letter.        See     R&R   at   94-95    (citing     W.       Va.    Code §46A-6-

   106(c))

           With    respect       to    Massachusetts,       the       Magistrate          Judge

   recommended         dismissal       of   the     EPFs'   Massachusetts            consumer


   protection claim on other grounds. R&R at 92. The Magistrate Judge

   found that the         EPFs    ^^engaged   in    trade   or    commerce" and           ^^must

   proceed under section 11 of the Massachusetts Consumer Protection

   Act." Id. ^'However section 11 bars indirect purchaser claims." Id.

   The EPFs "did not formally object" to this conclusion, but they

  "respectfully disagree with the court's finding." EPFs' 0pp. at 22

   n.l6. 147. The court has reviewed the Magistrate Judge's finding

   and   agrees    that    the     EPFs'    claims    are   properly            brought   under

   section 11. R&R at 92; see also United Food & Commercial Workers

   Local    1776   &   Participating Employers          Health        &    Welfare    Fund   v.

   Teikoku Pharma USA, Inc., 74 F. Supp. 3d 1052, 1084-85 (N.D. Cal.

   2014) ("The Plan and the City appear to be engaged in the ^trade

   or commerce' of providing health and welfare benefits. I conclude

   that the City and Iron Workers were engaged in trade or commerce

   and are covered by Section 11."). The court further agrees with

   the Magistrate Judge that "[t]he Massachusetts notice provision

   only applies to claims under section 9 of the state's consumer




          To clarify, record of the West Virginia notice is located
  in MDL Member Case No. 2:18cvl08, ECF No. 54-6. See R&R at 95 n.23
  (misstating the MDL Member Case No. as 4:18cvl08).

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   protection act." R&R at 94; see also Mass. Gen. Laws ch. 93A, § 11.

   Thus, no notice was required, and this is not a proper basis for

   dismissal.      Nevertheless,   the   court agrees       with   the   Magistrate

   Judge's recommendation of dismissal of the EPFs' Massachusetts

   consumer protection claim on other grounds. See R&R at 92.

        Thus, the Merck Defendants' objections are hereby OVERRULED,

   and the Defendants' Motion to Dismiss the EPFs' consumer protection

   claims in West Virginia and Massachusetts for lack of pre-suit

   notice     is   DENIED.   The   EPFs'      consumer   protection      claim   in

   Massachusetts is DISMISSED without prejudice on other grounds,

   namely, the EPFs' claims must proceed under section 11, which bars

   indirect purchaser claims.

        7. Objections Regarding Section V.D.5.g.

        The    Merck    Defendants   object      to   the    Magistrate     Judge's

   conclusion that Federal Rule of Civil Procedure 9(b)'s heightened

   pleading standard does not apply to the EPFs' claim under Florida's

   consumer protection laws. Merck Defs.' Objs. at 23-24. The court

   agrees with the Magistrate Judge's conclusion that Rule 9(b)'s

   heightened pleading standard is inapplicable in this case because

  '^the EPFs are proceeding under the statute's              ^unfair methods of

   competition'     prong," and the EPFs are          not bringing any claims

   alleging fraudulent conduct. R&R at 95; see also Hill v. Hoover

   Co., 899 F. Supp. 2d 1259, 1263 (N.D. Fla. 2012) (citing Jovine v.

   Abbott Labs., Inc., 795 F. Supp. 2d 1331 (S.D. Fla. 2011)). Thus,


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   the Merck    Defendants' objection is hereby OVERRULED, and the

   Defendants' Motion to Dismiss the EPFs' consumer protection claim

   under Florida law is DENIED.


         8. Objections Regarding Section V.D.S.h.

   The Merck Defendants object to the Magistrate Judge's conclusion

   that Tennessee's class-action bar does not apply in federal court.

   Merck Defs.' Objs. at 24. As the Merck Defendants acknowledge, the

   Magistrate Judge recommends that the court dismiss the EPFs' claim

   under Tennessee's consumer protection statute on other grounds.

   Id.; R&R at 86. The EPFs have not filed any objections to the R&R,

   and the court agrees with the Magistrate judge that the EPFs' claim

   under Tennessee's consumer protection statute should be dismissed

   on those    other grounds. R&R at 86                  [P]laintiffs cannot bring

   claims   based     on    anticompetitive         conduct      under    the       Tennessee

   Consumer Protection Act." (quoting In re Flonase Antitrust Litig.

   (Flonase    I),    610    F.     Supp.   2d    409,     417    (E.D.       Pa.    2009))).

   Nevertheless,      the     court    agrees     with     the     Magistrate         Judge's

   conclusion that Shady Grove governs class actions in federal court

   and   permits     the    EPFs'    suit   under    the    Tennessee         statute.   R&R

   at 95-96.    Thus,       the     Merck   Defendants'          objection      is     hereby

   OVERRULED, and the Defendants' Motion to Dismiss the EPFs' consumer

   protection   claim       under   Tennessee     law    is DENIED       on    this   basis.

   However, the EPFs' consumer protection claim under Tennessee law

   is DISMISSED with prejudice on other grounds, namely, the EPFs'


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   cannot    bring    claims     based    on    anticompetitive       conduct         under

   Tennessee's consumer protection statute. R&R at 86-87.

   E. Objections to Section V.D.6.

        The      Merck    Defendants     raise    several        objections      to     the

   Magistrate Judge's recommendation that some of the EPFs' unjust

   enrichment claims should proceed. Merck Defs.' Objs. at 25-28.

        1. Objections Regarding Section V.D.6.a.

           The   Merck    Defendants     object    to    the     Magistrate       Judge's

   conclusion     that the EPFs' Consolidated Complaint satisfies the

   Rule 8 pleading requirement for unjust enrichment. Merck Defs.'

   Objs.    at 25-26.     The   Merck    Defendants      argue    that   because '^the

   requirements for stating an            unjust enrichment claim              vary from

   jurisdiction      to   jurisdiction, .        . . blanket       incorporation         of

   antitrust-based        allegations     without       accounting       for     material

   differences in jurisdictions' requirements for unjust enrichment

   claims cannot satisfy Rule 8's pleading standards." Id. at 25.

   However, the Merck Defendants do not point to any specific material

   differences in jurisdictions' requirements for unjust enrichment

   claims that warrant consideration, other than those already raised

   before the Magistrate Judge. Id. at 25 ('^The R&R itself shows the

   inadequacy of this broad-brush approach when it reasons that some

   jurisdictions require conferral of a direct benefit to state an

   unjust    enrichment     claim    while      others    do     not."    (citing       R&R

   at 100-03)).      Moreover,    the    court    agrees       with   the      Magistrate


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   Judge's reasoning and conclusion that when considering the EPFs'

   Consolidated Complaint as a whole, it satisfies the Rule 8 pleading

   requirement for pleading unjust enrichment. R&R at 97-99. Thus,

   the   Merck      Defendants'       objection         is    hereby OVERRULED,           and     the

   Defendants' Motion to Dismiss the EPFs' unjust enrichment claims

   is DENIED on this basis.


         2. Objections Regarding Section V.D.6.c.

         The     Merck      Defendants       object          to   the     Magistrate       Judge's

   conclusion that indirect unjust enrichment claims are permitted in

   Kansas, Maine, New             York, and North            Dakota. Merck        Defs.' Objs.

   at 26-27.


         With respect to Kansas, the court agrees with the Magistrate

   Judge's conclusion and citation to In re Automotive Parts Antitrust

   Litig.,     29    F.    Supp.    982,     1019-1020        (E.D.       Mich.   2014),      which

   addresses     and       disposes    of    the    arguments           raised    by   the    Merck

   Defendants regarding Haz-Mat Response,                         Inc.    v. Certified Waste

   Servs. Ltd, 910 P.2d 839 (1996), and Spires v. Hosp. Corp. of Am.,

   289 Fed. App'x 269 (10th Cir. 2008). The court also finds the

   reasoning     in    In    re    Keuriq    Green       Mountain        Single-Serve        Coffee

   Antitrust Litig., No. 14-MD-2542 (VSB), 2019 WL 1789789, at *54

   (S.D.N.Y. Apr. 22, 2019), and In re Processed Egg Prods. Antitrust

   Litig.,     851    F.    Supp.     2d    867,    929-30        (E.D.    Pa.    2012),     to   be

   persuasive        and    support    the    conclusion           that    the    EPFs'      unjust

   enrichment claim in Kansas may proceed.


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        with respect to Maine, the court agrees with the Magistrate

   Judge's conclusion that the EPFs' unjust enrichment claim in Maine

   may proceed. R&R at 102. In addition to the case cited by the

   Magistrate Judge, the court also finds the analysis in In               re

   Keurig, 2019 WL 1789789, at *54, and Sergeants Benevolent Ass'n

   Health & Welfare Fund v. Actavis, PLC, No. 15 CIV. 6549 (CM), 2018

   WL 7197233, at *62 (S.D.N.Y. Dec. 26, 2018), to be persuasive and

   support the conclusion that the EPFs' unjust enrichment claim in

   Maine may proceed.

        With respect to New York, the court, the court agrees with

   the Magistrate Judge's reading of Sperry v. Crompton Corp., 863

   N.E.2d 1012, 1018 (N.Y. 2007), and conclusion that the EPFs' unjust

   enrichment claim in New York may proceed. R&R at 102. For an unjust

   enrichment claim to proceed in New York, the relationship between

   the EPFs and the Defendants cannot be ^^too attenuated." Sperry,

   863 N.E.2d at 1018 (^^Here, the connection between the purchaser of

   tires and the producers of chemicals used in the rubber-making

   process is simply too attenuated to support such a claim."). The

   court also finds the reasoning in In re Processed Egg Prods., 851

   F. Supp. 2d at 930 ('^One federal court has explained that this

   means that ^a product's indirect purchaser cannot assert an unjust

   enrichment claim against an entity that manufactured one of that

   product's ingredients,' but that an ^indirect purchaser can assert

   such an unjust enrichment claim against the manufacturer of the


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  product itself.'" (quoting Waldman v. New Chapter, Inc., 714 F.

  Supp. 2d      398,    403-04    (E.D.N.Y. 2010))), to           be   persuasive and

  support the conclusion that the EPFs' unjust enrichment claim in

  New York may proceed.

        With    respect to       North   Dakota, the          court agrees    with   the

  Magistrate Judge's conclusion that the EPFs' unjust enrichment

  claim in North Dakota may proceed. R&R at 103. The court agrees

  with the Magistrate Judge's citation to In re Automotive Parts

  Antitrust Litiq., 29 F. Supp. 982, 1019-1020 (E.D. Mich. 2014),

  which distinguishes Apache Corp. v. MDU Res. Grp., Inc., 603 N.W.2d

  891, 895-96 (N.D. 1999), from the case at bar. The court further

  finds the reasoning and cases cited in Sergeants Benevolent Ass'n

  Health & Welfare Fund, 2018 WL 7197233, at *65-66, to be persuasive

  and support the conclusion that the EPFs' unjust enrichment claim

  in North Dakota may proceed.

        Thus, the Merck Defendants' objections are hereby OVERRULED,

  and the Defendants' Motion to Dismiss the EPFs' unjust enrichment

  claims in Kansas, Maine, New York, and North Dakota is DENIED.

        3. Objections Regarding Section V.D.6.d.

        The    Merck     Defendants      object    to    the     Magistrate    Judge's

  conclusion     that    the     EPFs   may   plead     unjust    enrichment   in    the

  alternative. Merck Defs.' Objs. at 27-28. This objection applies

  to   the    EPFs   unjust    enrichment      claims    in    Alabama,   Hawaii,    and

  Massachusetts. Id.



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        With respect to Alabama, the Merck Defendants objection is

  entirely premised on the assumption that the EPFs have an adequate

  remedy at law that precludes the EPFs from bringing an unjust

  enrichment claim. Merck Defs.' Objs. at 27 ("Merck's argument is

  that the EPFs cannot avail themselves of these claims at all given

  the existence of adequate remedies at law."). However, the Merck

  Defendants overlook the fact that the EPFs have not alleged claims

  in Alabama on a legal theory other than unjust enrichment. Cf. EPF

  Compl.       337, 347, 357 (alleging violations of state antitrust

  and   consumer    protection     laws    in    jurisdictions,      not   including

  Alabama). Additionally, the Merck Defendants do not point to any

  available adequate remedy at law that would preclude the EPFs from

  pursuing an unjust enrichment claim in Alabama at this juncture.

  Thus, the court agrees with the Magistrate Judge that the EPFs'

  unjust enrichment claim in Alabama should proceed.

        With    respect      to   Massachusetts,       the    Magistrate         Judge

  recommended      dismissing     the    EPFs'   unjust   enrichment       claim    in

  Massachusetts on other grounds. R&R at 99-100. The EPFs have not

  filed any objections to the R&R, and the court agrees with the

  Magistrate    judge     that    the    EPFs'   unjust   enrichment       claim    in

  Massachusetts     should   be   dismissed on      those    other    grounds.     Id.

  (finding that the EPFs cannot circumvent Illinois Brick by bringing

  unjust   enrichment     claims    in    jurisdictions      that    do    not   allow

  indirect purchaser antitrust actions). Nevertheless, as discussed


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  below with respect to Hawaii, the court agrees with the Magistrate

  Judge's reasoning and conclusion that the unjust enrichment claim

  in Massachusetts should not be dismissed on this basis.

          With respect to Hawaii, the court agrees with the Magistrate

  Judge that Federal Rule of Civil Procedure 8 allows the EPFs to

  plead claims in the alternative and assert inconsistent claims.

  Fed. R. Civ. P. 8(d)(2)-(3). Moreover, the EPFs explicitly pled

  their    claims   of   unjust     enrichment   in   the    alternative,         and

  explicitly pled that they have no adequate remedy at law. EPF

  Compl. SISI   361, 365. To the extent that the EPFs have alleged

  violations of Hawaii's antitrust and consumer protection laws, see

  EPF Compl. Sli 337, 347, 357, it is not certain that the EPFs will

  prevail on those claims, and thus, it would be premature to dismiss

  the EPFs      unjust enrichment claim in       Hawaii. See, e.g..          In    re

  Choclate Confectionary Antitrust Litiq., 749 F. Supp. 2d 224, 237

  (M.D. Pa. 2007) (evaluating the same argument and declining to

  dismiss an unjust enrichment claim in Hawaii).

          The Merck Defendants' objections are hereby OVERRULED, and

  the   Defendants'   Motion   to    Dismiss the EPFs'       unjust enrichment

  claims in Alabama, Massachusetts, and Hawaii is DENIED. The EPFs'

  unjust    enrichment    claim     in   Massachusetts      is   DISMISSED    with

  prejudice on other grounds, namely, the EPFs cannot circumvent

  Illinois Brick by bringing an unjust enrichment claim.




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                                      IV. Conclusion


           The court, having examined all of the Objections to the R&R,

  and having made ^ novo findings with respect thereto, hereby

  OVERRULES the Retailer Plaintiffs' Objections, EOF No. 235, and

  the      Glenmark   Defendants'    Objections,     ECF      No.    236.     The     court

  OVERRULES the Merck Defendants' Objections. ECF No. 237. The court

  MODIFIES the reasoning in the R&R, as noted supra Part III.B.5.

  The court ADOPTS AND APPROVES IN FULL the recommended disposition

  of each claim as set forth in the Magistrate Judge's thorough and

  well-reasoned       R&R,   ECF    No. 234,   filed     on     February        6,    2019.

  Accordingly, the Defendants' Motions to Dismiss, ECF Nos. 157, 160

  & 162, are GRANTED IN PART AND DENIED IN PART as set forth in the

  R&R and Exhibits A and B attached thereto. See R&R at 104, Exs. A

  &   B.


           The   Clerk is DIRECTED     to send   a   copy of this            Opinion     to

  counsel for all parties.

           IT IS SO ORDERED.                                         ^
                                                       Rebecca Beach Smith
                                                       United States District Judge

                                                     Rebecca Beach Smith
                                               United States District Judge
  August           2019




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